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				IN RE: RULE AMENDING RULES GOVERNING ADMISSION TO PRACTICE OF LAW2014 OK 115Case Number: SCBD-6193Decided: 12/15/2014THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2014 OK 115, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 


IN RE: PROPOSED RULE AMENDING THE RULES GOVERNING ADMISSION TO THE PRACTICE OF LAW IN THE STATE OF OKLAHOMA



ORDER


¶1 The Court hereby adopts as set forth and attached hereto the amendment to the Rules Governing Admission to the Practice of Law in the State of Oklahoma, 5 O.S. Supp. 2014, Ch. 1, App. 5, by adding a new rule, Rule Fifteen, and renumbering the previous Rule Fifteen as Rule Sixteen.

¶2 IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that the Rules Governing Admission to the Practice of Law in the State of Oklahoma, 5 O.S. Supp. 2014, Ch. 1, App. 5, is amended by adding a new rule, Rule Fifteen, and renumbering the previous Rule Fifteen as Rule Sixteen. The amendment shall be for official publication and published in three (3) consecutive issues of the Oklahoma Bar Journal and that it shall be effective January 1, 2015.

DONE BY THE ORDER OF THE SUPREME COURT THIS 15TH DAY OF DECEMBER, 2014.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR



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Rules Governing Admission to the Practice of Law in the State of Oklahoma

Rule Fifteen

(a) The Board of Bar Examiners and its members, employees and agents are immune from all civil liability for damages for conduct and communications occurring in the performance of and within the scope of their official duties relating to the examination, character and fitness qualification, and licensing of persons seeking to be admitted to the practice of law or seeking to be registered as a law student. 

(b) Records, statements of opinion and other information regarding an applicant for admission to the bar or for registration as a law student communicated by any entity, including any person, firm or institution, without malice, to the Board of Bar Examiners, or its members, employees or agents, are privileged and civil suits for damages predicated thereon may not be instituted.

Rule Sixteen

All rules or regulations governing the subject matter herein covered previously in effect are hereby cancelled, annulled, revoked, and hereafter to be of no force or effect.





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